Appellant was convicted of murder in the first degree, and his punishment assessed at death. Appellant pleaded guilty, after being fully and properly warned by the court. In motion for new trial appellant complains that the court erred in failing to submit to the jury a charge on manslaughter; and also erred in submitting murder in the first degree. The facts show that appellant had been keeping deceased as his paramour. She declined to continue further in that relation. Appellant sought her out, began quarreling with her, and demanded that she should talk to him. She refused to do so, and started off with another man. Appellant folloved her, and stated that he would kill her if she did not talk to him. Whereupon deceased, as appellant states, replied to him, "You son of a bitch; go away from me; I don't want to have anything to do with you." Appellant says he shot her, and then followed her up, and shot her several other times. We do not think this testimony raises the issue of manslaughter. Appellant had no claims upon deceased as his wife. They were not married. Their relations had theretofore been illicit. She had a right to cease that illicit relation. Appellant had no right to force or attempt to force her to continue it. The fact that she protested and used the language quoted against him, because of his efforts to so force her, would not raise the issue of manslaughter. Furthermore, the record shows that the act was deliberately designed and conceived by appellant, and carried into execution with cruel deliberateness. Hence the issue of murder in the first degree was properly presented to the jury. There being no error in the record, the judgment is affirmed.
Affirmed.